                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF TENNESSEE


  ANDREW JOSTEN LOVINGOOD                              )
                                                       )
         Plaintiff,                                    )
                                                       )      Docket No.: 3:19-CV-00009
                                                       )
  v.                                                   )
                                                       )
  BILL JOHNSON,                                        )
  DERRICK GRAVES, and                                  )
  MONROE COUNTY, TENNESSEE                             )
                                                       )
         Defendants.                                   )

                                  PLAINTIFF’S EXHIBIT LIST

         COMES NOW, the Plaintiff by and through its attorney and does hereby respectfully

  submit this Exhibit List pursuant to the scheduling Order of this Honorable Court.

         1. Any and all Videos depicting and or capturing Mr. Lovingood’s encounter with Law

             Enforcement;

         2. Monroe County Sheriff’s Department; personnel files; complaints; jail incident

             reports; Policies and Procedures and the like;

         3. Monroe County Circuit/Criminal Court Records of Graves and Johnson along with

             any audio and or video recordings;

         4. Moccasin Bend Mental Health Records;

         5. Helen Ross McNabb Center Medical Records;

         6. TBI File regarding Investigation of Encounter;

         7. Starr Regional Medical Center Medical Records;

         8. Vonore Police Department Documents regarding encounter with Plaintiff;

         9. Cherokee Mental Health Medical Records;

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        10. Athens Stock Yard Employment Records;

        11. Hometown Medical Records;

        12. Hiawassee Mental Health Center Records;

        13. Hopkinsville Community College Records;

        14. JTEKT Records;

        15. Parkridge West Hospital Medical Records; and

        16. Volunteer Behavioral Health Care System Records.


        RESPECTFULLY SUBMITTED, this the 9th day of November, 2021.


                                                  THE BOWLIN LAW FIRM P.C.


                                           By:    ________________________ for The Firm
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                                 CERTIFICATE OF SERVICE

         I hereby certify that, a copy of the foregoing Motion to Extend Time was transmitted for
     service via Pacer and this Court’s Electronic Court Filing System to counsel of record for all
     parties.

                                                     THE BOWLIN LAW FIRM P.C.


                                              By:    ________________________ for The Firm
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